           Case 4:20-cr-00030-BSM Document 3 Filed 01/09/20 Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

UNITED STATES OF AMERICA                     )              4:20CRW1,a ~/IA
                                             )
V.                                           )              18 U.S.C. §§ 2251(a) and (e)
                                             )
JONATHAN WILLIAMS                            )

                                         INDICTMENT

       THE GRAND JURY CHARGES THAT:

                                          COUNT ONE

       From on or about July 24, 2019, to on or about August 7, 2019, in the Eastern District of

Arkansas and elsewhere, the defendant,

                                   JONATHAN WILLIAMS,

did attempt to employ, use, persuade, induce, entice, and coerce a person he believed to be a

minor, to engage in sexually explicit conduct for the purpose of producing a visual depiction of

such conduct, using materials that had been mailed, shipped, and transported in interstate and

foreign commerce.

       All in violation of Title 18, United State Code, Sections 2251(a) and 2251(e).

                             FORFEITURE ALLEGATION ONE

       Upon conviction of Count One of this Indictment, the defendant, JONATHAN WILLIAMS,

shall forfeit to the United States, under Title 18, United States Code, Section 2253(a)(3), all

property, real or personal, used or intended to be used to commit or to promote the commission of

the offense and all property traceable to the property used or intended to be used to commit the

offense.
